UNITED STATES DISTRICT COURT                               EASTERN DISTRICT OF TEXAS


S.M., J.C., C.O., T.R., M.W., and K.W.,       §
                                              §
               Plaintiffs,                    §
                                              §
versus                                        §      CIVIL ACTION NO. 9:20-CV-203
                                              §
THE BOARD OF REGENTS OF                       §
STEPHEN F. AUSTIN STATE                       §
UNIVERSITY, SCOTT GORDON, PH.D., §
as President of Stephen F. Austin University, §
and STEPHEN F. AUSTIN STATE                   §
UNIVERSITY,                                   §
                                              §
               Defendants.                    §

                     AGREED TEMPORARY RESTRAINING ORDER

       On this day the court held a telephone conference to consider Plaintiffs’ Emergency Motion

for Temporary Restraining Order under Federal Rule of Civil Procedure 65. The Parties, S.M.,

J.C., C.O., T.R., M.W., and K.W. and Defendants Board of Regents of Stephen F. Austin State

University, Scott Gordon, Ph.D., as President of Stephen F. Austin State University, and Stephen

F. Austin State University (“SFA”) appeared through counsel.

       Defendants agree that they will not take any further disciplinary action against Plaintiffs,

including scheduling or conducting any hearing or attempting to compel Plaintiffs to make any

statements about the incident made the basis of Plaintiffs’ Original Complaint to SFA officials,

before October 16, 2020.

       Defendants further agree to preserve evidence obtained or relied upon by the Student

Conduct Officer in investigating this matter, including, as applicable, police body-camera footage,
recordings, witness statements, and communications between any employee or representative of

SFA and C.E., C.E.’s parents, or C.E.’s attorney concerning this incident.

       Per the court’s forthcoming orders, the Parties will appear before the Court in the United

States District Court for the Eastern District of Texas, Beaumont Division, located at 300 Willow

Street, in Beaumont TX, in Courtroom No. 3, at 10 o’clock a.m., on October 15, 2020, for a

Preliminary Injunction Hearing.

       The Parties further agree that no bond shall be required in this matter.

       This order was entered on October 5, 2020, at 5:30 p.m.

       This order will expire on October 16, 2020.

       SIGNED at Beaumont, Texas, this 5th day of October, 2020.




                                          ________________________________________
                                                      MARCIA A. CRONE
                                               UNITED STATES DISTRICT JUDGE




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